Case 1:14-ml-02570-RLY-TAB Document 8042-2 Filed 04/10/18 Page 1 of 1 PageID #:
                                  43242



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

                                                            )
IN RE: COOK MEDICAL, INC, IVC FILTERS                       ) CASE NO. 1:14-ml-2570-RLY-TAB
                                                                MDL No. 2570
MARKETING, SALES PRACTICES AND                              )
PRODUCTS LIABILITY LITIGATION
                                                            ) MOTION TO WITHDRAW AS
                                                              COUNSEL
                                                            )
                                                            )
                                                            )
                                                            )
                                                            )
                                                            )


 THIS DOCUMENT RELATES TO:

 IN RE: COOK MEDICAL, INC, IVC FILTERS
 Civil Action No.: 1:14-ml-2570-RLY-TAB

                    ORDER PERMITTING WITHDRAW OF COUNSEL

        Considering the Motion to Withdraw as Counsel, IT IS ORDERED that the Motion is

 GRANTED.

        Entered this _______ day of ___________________________, 2018 into the United

 States District Court Southern District of Indiana, Indianapolis Division.

                                       _______________________________________________
                                      HONORABLE DISTRICT JUDGE RICHARD L. YOUNG
